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                            IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF NEW MEXICO


  UNITED STATES OF AMERICA,                      )
                                                 )
                    Plaintiff,                   )
                                                 )       NO. 21-MJ-170
             v.                                  )
                                                 )
  JOE D. CISNEROS,                               )
                                                 )
                    Defendant.                   )

                                   UNOPPSOED MOTION
                          TO CONTINUE GRAND JURY PRESENTMENT

        Defendant, Joe D. Cisneros, by and through his attorney, Romero & Winder, PC (Joe M.

Romero, Jr.), hereby respectfully moves this Court for a sixty-day continuance of the grand jury

deadline. As grounds, Defendant states:

        1.        Defendant was arrested on February 3, 2021.

        2.        A Preliminary Hearing was held in this case on February 8, 2021.

        3.        A first Unopposed Motion to Continue Grand Jury Presentment was filed on

February 27, 2021 (Doc. 17). An Order Granting Motion to Extend Grand Jury Deadline was granted

and filed in the Court docket on March 1, 2021 (Doc. 19). In said order, the deadline for grand jury

presentment falls on Tuesday, May 4, 2021.

        4.        Defendant is a military veteran and has previously been diagnosed with chronic

PTSD. He was previously released from custody in this case and is currently enrolled in a mental

health treatment program at the VA (Veterans Administration) Medical Center in Albuquerque. Also,

Defendant and the government are currently engaged in plea negotiations and the exchange of

discovery for a possible pre-indictment resolution of this case.
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          5.      Undersigned counsel affirmatively states that under the Speedy Trial Act, 18 U.S.C. §

3161(h)(7) the ends of justice will be served by granting this extension of time for presentation to the

Grand Jury. 18 U.S.C. § 3161(h)(1). See United States v. Hernandez-Mejia, 406 Fed. App’x. 330,

338 (10th Cir. 2011) (“The Speedy Trial Act was intended not only to protect the interests of

defendants but was also ‘designed with the public interest in mind.’”) (quoting United States v.

Toombs, 574 F.3d 1262, 1273 (10th Cir. 2009)). Pursuant to section 3161(h)(7) of the Speedy Trial

Act, the ends of justice outweigh the best interests of the public and the defendant in a speedy

indictment for several reasons. First, a continuance of the deadline for grand jury presentment will

allow Defendant additional time to review discovery with his attorney. Second, a continuance will

allow the parties to pursue plea negotiations, including allowing Defendant time to receive necessary

mental health treatment, which treatment will likely impact plea negotiations. Such negotiations may

result in a resolution of this matter more favorable to Defendant than might otherwise be obtained

following indictment. As such, a continuance serves both Defendant best interests and the interest of

the public.

          6.      The Defendant’s interests and the public’s interest in a speedy indictment are

outweighed by (1) the public’s interest in a reasonably expeditious resolution of this matter; (2) the

public’s interest in relieving the burden that would be placed on judicial, prosecutorial, defense, and

law enforcement resources if the case proceeded to a speedy indictment; (3) the potential benefit

conferred on Defendant as a result of a potential pre-indictment resolution of this matter.

          7.      This motion is not predicated upon the congestion of the Court’s

docket.

          8.      AUSA Rumaldo Armijo does not oppose this motion.

          WHEREFORE, Defendant requests this Court enter an Order continuing the time limit for

filing an indictment. Defendant requests that this waiver be valid for an additional period of sixty

(60) days and that the deadline for grand jury presentment be extended until Friday, July 2, 2021.

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                                                        Respectfully Submitted,


                                                        /s/ Joe M. Romero, Jr.
                                                        Joe M. Romero, Jr.
                                                        Romero & Winder, PC
                                                        Attorney for Charles Justice
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                                         Certificate of Service

I hereby certify that, on April 30, 2021, the foregoing pleading was filed electronically
pursuant to CM/ECF procedures for the District of New Mexico, which caused the parties and/or
their counsel to be served by electronic transmission, as more fully reflected by the Notice of
Electronic Filing.

/s/ Joe M. Romero, Jr.
Joe M. Romero, Jr.




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